                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION

                                    DOCKET NO. 1:05CR209

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )              PRELIMINARY ORDER
               v.                                 )                OF FORFEITURE
                                                  )
1) RAPHAEL ARROYOS                                )
FERNANDEZ                                         )
   a/k/a Raphael Fernando Fernandez               )
                                                  )
2) PEUJON DESLIN NAZIFI                           )
   a/k/a “P.J.”                                   )
                                                  )
                       Defendants.                )


       As a result of Peujon Deslin Nazifi’s guilty plea to Count Two of the Superseding Bill of

Indictment and Raphael Arroyos Fernandez’s guilty plea to Counts One and Two of the

Superseding Bill of Indictment, for which the United States sought forfeiture pursuant to 18

U.S.C. § 982 and 21 U.S.C. § 853, the defendants shall forfeit to the United States all property

constituting or derived from any proceeds the defendants obtained, directly or indirectly, as a

result of such violations; all property involved in or traceable to such violations; and/or all

property used or intended to be used in any manner or part to commit or facilitate the

commission of the violations.

       The Court has determined, based on the Superseding Bill of Indictment and the guilty

pleas of the defendants, that the following property is subject to forfeiture pursuant to 18 U.S.C.

§ 982 and/or 21 U.S.C. § 853 and that the government has established the requisite nexus


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     Case 1:05-cr-00209-MR-WCM              Document 99        Filed 04/07/06       Page 1 of 4
between such property and such violations:

       – a 2003 Mercedes Benz 500E, VIN WDBUF70J23A112541, and

       – real property located at 9392 East Grapevine Spring Place, Tucson, Arizona, Pima
       County Parcel ID Number 136-07-54406, as evidenced by the Warranty Deed recorded
       on March 30, 2004, Docket 12269, Page 9862 of the Pima County Recorder, Tucson,
       Arizona.

       IT IS THEREFORE ORDERED:

       1. The following property is hereby forfeited to the United States for disposition

according to law, subject to the provisions of 21 U.S.C. § 853(n):

       – a 2003 Mercedes Benz 500E, VIN WDBUF70J23A112541, and

       – real property located at 9392 East Grapevine Spring Place, Tucson, Arizona, Pima
       County Parcel ID Number 136-07-54406, as evidenced by the Warranty Deed recorded
       on March 30, 2004, Docket 12269, Page 9862 of the Pima County Recorder, Tucson,
       Arizona.

       2. The Attorney General (or his designee) is authorized to seize the forfeited property

subject to forfeiture; to conduct any discovery proper in identifying, locating, or disposing of the

property; and to commence proceedings that comply with any statutes governing third party

rights. Fed. R. Crim. P. 32.2(b)(3).

       3. Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish at least once a week

for three successive weeks in a newspaper of general circulation in Tucson, Arizona; and once

(pursuant to standing Order 3:05MC302-C) in a newspaper of general circulation in Asheville,

North Carolina, notice of this order and of its intent to dispose of the property in such manner as

the United States may direct. The United States may also, to the extent practicable, provide

direct written notice to any person known to have alleged an interest in property that is the

subject of this order of forfeiture, as a substitute for published notice as to those persons so

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     Case 1:05-cr-00209-MR-WCM              Document 99         Filed 04/07/06       Page 2 of 4
notified.

        4. Any person, other than the above named defendants, having or claiming a legal

interest in any of the above-listed forfeited property may, within thirty days of the final

publication of notice or of receipt of actual notice, whichever is earlier, petition the Court for a

hearing without a jury to adjudicate the validity of the petitioner’s alleged interest in the property,

and for an amendment of the order of forfeiture pursuant to 21 U.S.C. § 853(n). The petition

shall be signed by the petitioner under penalty of perjury and shall set forth the nature and extent

of the petitioner’s right, title or interest in each of the forfeited properties; the time and

circumstances of the petitioner’s acquisition of the right , title, or interest in the property; and

any additional facts supporting the petitioner’s claim and the relief sought. 21 U.S.C. §§

853(n)(2) and (3).

        5. After the disposition of any motion filed under Fed. R. Crim P. 32.2(c)(1)(A) and

before a hearing on the petition, discovery may be conducted in accordance with the Federal

Rules of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve

factual issues.

        6. This Preliminary Order of Forfeiture shall become final as to the defendants at the

time of sentencing and shall be made part of the sentence and included in the judgement. If no

third party files a timely claim, this Order shall become the Final Order of Forfeiture, as provided

by Fed. R. Crim. P. 32.2(c)(2).

        7. Upon adjudication of third-party interests, if any, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32(c)(2).

        8. The Court shall retain jurisdiction to enforce this Order and to amend it as necessary,


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     Case 1:05-cr-00209-MR-WCM             Document 99         Filed 04/07/06     Page 3 of 4
pursuant to Fed. R. Crim. P. 32.2(e).



                                            Signed: April 7, 2006




                                            4


    Case 1:05-cr-00209-MR-WCM           Document 99     Filed 04/07/06   Page 4 of 4
